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     Pro Se I (Rev. 12/16) Complaint for a Civil Case



                                              UNITED STATES D ISTRICT COURT
                                                                                 for the
                                                                    District of Oregon


                                                                   - - - -              Division



     ~\~ AL~ ~ \¾G -0~~ 4 ~                                                                Case No.

     HA 6 '1;0 c~                c()~f'hU'l""I      \G.~\d'5':S'?~ ¢..E:,
                                                                                                           (to be filled in by the Clerk 's Office)


                                   Plaintiff(s)    ~ £nG. Y\Ee~,'9'\~
     (Write the full name of each plaintiff who 1s filing this complaint.           )      J   T • l·
     If the names of all the plaintiffs cannot fit in the space above,              )       ury na · (checkone)         ~ e s O No
     please write "see attached" in the space and attach an additional
     page with the full list of names.)                                             )
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      ~ -:L, s-· -==""°' ~ =
                                                                                    )
                                                                                    )
                                   Defendant(s}
     (Write the full name of each defendant who is being sued. If the
                                                                                    )
     names of all the defendants cannot fit in the space above, please              )
     write "see attached" in the space and attach an additional page                )
     with the full list of names.)



                                                        COMPLAINT FOR A CIVIL CASE


     I.         The Parties to This Complaint
                A.         The Plaintiff(s)

                           Provi de the information below for each plaintiff named in the complaint. Attach additional pages if
                           needed.                                          ~~ '"""'            (\ Lii~ _          \-\~(:,£._~-                ~
                                      Name                                  t\f\ G~:t> o·~               ~,C--O'O"\v r-,, ( a--:::n'.O n. £' (EA-g.;rl\.5"')?£c1"E5
                                      Street Address                         \   S: {., (,, b      :S E.. R Cl€>>:\-€ ~~
                                      City and County                        {)::) \ '-"-0 l-\:\2       \<.\ £ < I ®-.,_ •           ~ 7 ] Co         1
                                       State and Zip Code
                                      Telephone Number
                                      E-mail Address


                    B.      The Defendant(s)

                            Provide the information below for each defendant named in the complaint, whether the defendant is an
                            individual, a government agency, an organization, or a corporation. For an individual defendant,
                            include the person's job or title (if known) . Attach additional pages if needed.


                                                                                                                                                      Page I of 5
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                     Defendant No. 1
                                Name

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                                                                       1
                                 Job or Title (if known)
                                                                                              C)

                                 Street Address                      <h----rr~o\..._ \ \.l.~ Y             \,,ft'OE-r   E.<'.'\ ~
                                 City and County                     VT"'\(-IW\...vn
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 2

                                 Name                                ~ ~ f\ --rr-i l,~\ A ~ Co Ynx\.J•E g__
                                 Job or Title (ifknown)               (:o S ~ W 5:~3> oG)? 8-::vY'-:
                                 Street Address                                                    ,
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                                 City and County                    (-Ji... A~A - O'.) \ ')\,Cl S: f'"7 , '.'1 C, \ ~ J A:~ l\ \1:.,,
                                 State and Zip Code                 ( \ ~{'v \ ~" ~ ~ ~ f.\. 0-\ron G. '<no J<J ~ LA ./ A, <J. 'T1 Er9.
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                                 Telephone Number                      ( q, \) :> ~5 - 3 0 0 °\.
                                 E-mail Address (if known)              bf~ 3n \...-a~1. ~ o C"' 'S S ~ <I\) ~ )o ~ · (<?)n,-,_
                      Defendant No. 3
                                 Name                                \ b,)Q~ill          a U~\,e:.~   S'-,«1 - s ('~~U\"\
                                 Job or Title (if known)             Co-('Y'>~~~ ~S?-Oc.~ ~, COJc.-R::f
                                 Street Address                      '(Yh L \ ,~i>-':< kl 'rl:?:-:: A' A\ f\')'\' ' \ - \ E-
                                 City and County                     ~ ~"' -::--, E~~-n~ - A )e_c:..'\2_,;-=:r .r~"e-r-:i
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                                 Telephone Number
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                                 E-mail Address (if known)


                       Defendant No. 4
                                  Name                               ~'E.- ~°¥:-'E-~\ < : ) ~       =u\i:.. \Jf\,~D \':r:fi::ftS Cf'
                                                                                                            t)~

                                  Job or Title (if known)            Affl\:k, <.. ~ { --:S~s'E, :P ~ D, \)t(\ - ~ Co~~
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 Phone:     (C\7 l ~ 3~C\ - '5 Oo ~

                                 IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF OREGON

                                                  PORTLAND DIVISION

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                                              Plaintiff(s),             Civil Case No : - - - - -

 vs.
·::C-r - A , ~ '-'"' ''r\ ~                   (    Yh     v-iet,
 a     I~~                                          \e
                       f\ ~f\>,.>      (J(" Defendant(s) .




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  Dated:         13       SEPT          LC'<-\
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II.        Basis for Jurisdiction

           Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
           heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
           parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
           is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
           another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
           diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction~ck all that apply)
                  0Federal question                                 lY1 Diversity of citizenship

           Fill out the paragraphs in this section that apply to this case.

           A.         If the Basis for Jurisdiction ls a Federal Question




           B.         If the Basis for Jurisdiction ls Diversity of Citizenship

                      1.         The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                            The plaintiff, (name)    BR.I .i::\ ~ AL B €P;r }J A G"Ej)"'?>f-1'\ , is a citizen of the
                                            State of (name) ~
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                                                                   i\ d. Y\- ~~      ~ ~ ~¢..<\ ( "'2~-f\o~
                                  b.         If the plaintiff is a ~Ff10ration
                                                                                                                                \ ·. 'S~~ ~ &,~
                                             The plaintiff, (name) }-\-A ~e,;P~l\ Y\          (b ""'"'("h. '->      c...,fl\'11 "~ s incorporated                  <.
                                             under the laws of the State of (name)       0     ~ ('.,.Of"
                                                                                         --~~-------------
                                             and has its principal place of business in the State of (name)

                                               0~~60.,,...
                                            ~ ~Ge-CO~ ~,·svo ,~,c.K'H                            ~ °"'~     ~L\.... of ~t~\..A.rt12l'S
                                  (If more than one plaintiff is named in the complaint, attach an additional page providing the $ Pec.,rr
                                  same information for each additional plaintiff.)

                       2.         The Defendant(s)

                                  a          If the defendant is an individual
                                             The defendant, (name)         \.._J,,._'(\
                                                                                    ....,_~¥-. "'
                                                                                               ~ Q~\..sl
                                                                                                    ~Y1  ~ - - - - - - - - - , is a citizen of
                                             the State of (name)      0 \2-c. 6 ~:n        1  \J~~ :{) Q\. a>:t'            Or is a citizen of
                                             (foreign nation)        , \  =
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                                        b.         If the defendant is a corporation
                                                   The defendant, (name)     -::c'-,-- <. lc..:A~        'R..S \-\ \ p          , is incorporated under
                                                    the laws of the State of (name)
                                                                                          n JA        -:J)-\.'c.'-( rnA'hc 0-lR...
                                                                                                       :PL-SnE,f LA- 1 ,;if
                                                                                                                                            , and has its

                                                    principal place of business in the State of (name) \..)'('\ \<.,(')et..,o'(\   JO 't,~1;1~ / EA\l-7\-,\
                                                    Or is incorporated under the laws of (foreign nation) -V~""
                                                                                                              - k- - n
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                                                                                                                                 ~-----
                                                    and has its principal place of business in (name) Ct; 6 ~                 r)o:o--\~ ~ µ ' ¥,__
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                                                                                                                                                   ,...,
                                         (If more than one defendant is named in the complaint, attach an additional page providing the
                                         same information for each additional defendant.)

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                                           ..ub.......e-Amow1t i11 C m ~

                                         The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                         stake-is more than $75,000, not counting interest and costs of court, because (explain) :




                   Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
                   facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
                   involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
                   the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
                   write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
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                    State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
                    arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
                    the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
                    punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
                    punitive money damages.

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V.         Certification and Closing

           Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
           and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
           unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
           nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
           evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
           opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
           requirements of Rule 11 .

           A.         For Parties Without an Attorney

                       I agree to provide the Clerk' s Office with any changes to my address where case-related papers may be
                       served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                       in the dismissal of my case.


                       Date of signing:


                       Signature of Plaintiff       SPY'--=            ~                                        ~

                       Printed Name of Plaintiff      '3 R..1A-() A<- 8£::R.:r )r) 1A '-1,l) ~:e--0
            B.         For Attorneys

                       Date of signing:


                       Signature of Attorney
                       Printed Name of Attorney
                       Bar Number
                       Name of Law Firm
                       Street Address
                       State and Zip Code
                       Telephone Number
                       E-mail Address




                                                                                                                         Page 5 of 5
